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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
        v.                                             )            CR. NO. 94cr62-MHT
                                                       )
OSCAR ANDREWS                                          )

                 RECOMMENDATION OF THE MAGISTRATE JUDGE

        On February 11, 2010, Andrews filed his “ Motion to Adopt by Reference on the

Behalf of Oscar Andrews, the Entirety of the § 2255 Proceeding Of His Codefendant Jerry

Lindsay Artis; or in the Alternative Motion Pursuant to Rule 60(b) to Correct A Plain Error;

or in the Further Alternative Petition For Autida Querela to Correct a Miscarriage of

Justice.” (doc. # 2013) Before addressing this motion,1 a short history of the proceedings is

necessary.

        On February 24, 1994, Andrews was indicted along with numerous other defendants

in a multi-count drug conspiracy and distribution indictment. The original indictment was

filed on February 24, 1994. Superseding indictments were filed on March 29, 1994, June 6,



        1
          Of course, if Andrews’ motion were to be construed as a habeas claim, the court lacks jurisdiction
to consider it because it is a successive § 2255, and he has not received permission from the Eleventh Circuit
Court of Appeals to file it. See 28 U.S.C. § 2255(h), cross-referencing 28 U.S.C. § 2244(b). However, in
some limited circumstances FED .R.CIV .P. 60(b) may afford relief. Gonzalez v. Crosby, 545 U.S. 524, 534
(2005). A Rule 60(b) motion is construed as a post-conviction motion to vacate a sentence under § 2255
where it “seeks to add a new ground for relief,” or “attacks the federal court's previous resolution of a claim
on the merits.” Gonzalez, 545 U.S. at 532. A petitioner who files a Rule 60(b) motion may not circumvent
the statutory restrictions on second or successive applications, unless the Rule 60(b) motion attacks a defect
in the integrity of the federal habeas proceedings, such as fraud upon the federal court that led to the denial
of the original habeas petition. Id., 545 U.S. at 532. Arguably, Andrews is attacking the integrity of the first
§ 2255 proceeding when he alleges that he was treated differently than a codefendant. For this reason, the
court has considered the merits of Andrews’ claims.
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1994 and again on August 18, 1994.

       On November 7, 1994, Andrews proceeded to trial along with his several co-

defendants. On November 17, 1994, the jury returned a guilty verdict against Andrews on

count one, conspiracy to distribute cocaine in violation of 21 U.S.C. § 846; count 2,

engaging in a continuing criminal enterprise (CCE) in violation of 21 U.S.C. § 848(a); and

counts 18, 21 and 23, possession with intent to distribute cocaine and aiding and abetting in

violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2. On May 22, 1995, Andrews was

sentenced to concurrent terms of life imprisonment without parole on the CCE count and the

three distribution and aiding and abetting counts.2 On August 7, 1998, the Eleventh Circuit

Court of Appeals affirmed the judgment of conviction as to Andrews deciding all issues

adversely to him. United States v. Morrow, 156 F.3d 185 (11 th Cir. 1998) (Table NO. 95-

6423), the defendant filed a motion to vacate, set aside or correct his sentence pursuant to

28 U.S.C. § 2255. After allowing Andrew’s numerous amendments to the motion, that

motion was denied on July 9, 2003.3

       In Andrew’s § 2255 motion filed in 2000, he raised a Richardson v. United States,

526 U.S. 813 (1999) claim concerning the CCE jury instruction. In Richarson, the court

held that in a CCE case the jury must unanimously agree not only that defendant committed



       2
        Although the jury found Andrews guilty on count one, the government elected the CCE count
because conspiracy is a lesser included offense of the CCE offense. (Trial Tr., Verdict, at 19.)


       3
           Subsequently, Andrews has filed several motions for relief, all of which have been denied.

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some continuing series of violations, but also about which specific violations make up that

continuing series. In resolving Andrew’s § 2255 motion, the court found that his substantive

Richardson claim was procedurally defaulted because he failed to raise it on direct appeal.

Nonetheless, as reflected below the court effectively considered the claim in determining

whether Andrew’s counsel provided ineffective assistance of counsel within the meaning

of Strickland v. Washington, 466 U.S. 668 (1984).

              1. The Richardson Claim. Andrews was convicted of engaging in a
       continuing criminal enterprise (“CCE”) in violation of 21 U.S.C. § 848. After
       Andrews’ conviction, the Supreme Court decided Richardson v. United States,
       526 U. S. 813 (1999), in which the Court held that, with respect to a CCE
       charge under 21 U.S.C. § 848, a jury must agree unanimously on which
       specific predicate violations established the continuing series of violations
       prohibited by the statute. 526 U.S. at 815. A Richardson claim is retroactively
       applicable to cases on collateral review. United States v. Ross, 289 F.3d 677,
       681 (11th Cir.) cert. denied, 123 S.Ct. 944 (2002). A Richardson violation is
       also subject to harmless error review under Brecht v. Abrahamson, 507 U.S.
       619 (1993). Ross, 289 F.3d at 683.

              Andrews claims that the court’s jury charge on Count 2 of the
       indictment, the CCE count, denied him due process and that his counsel was
       deficient because he did not object to the court’s failure to charge the jury as
       required by Richardson that they must unanimously find a continuing series of
       violations and also determine the specific violations which constitute the
       series. For two important reasons, Andrews is entitled to no relief on this
       claim. First, any Richardson violation was harmless; therefore, the defendant
       can show no prejudice within the meaning of Strickland. Second, as a matter
       of law in this circuit, counsel cannot be ineffective for failing in 1994 to
       predict what the Supreme Court would hold in 1999. The court will explain
       these conclusions more in depth.

              At the conclusion of the defendant’s trial the court instructed the jury
       that

              a continuing series of violations’ means proof of at least three

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        violations of the federal controlled substances laws as charged
        in Counts One, Two, and Counts Five through Twenty-two –
        Five through Twenty-seven of the Indictment, and also requires
        a finding that those violations were connected together as a
        series of related or ongoing activities, as distinguished from
        isolated and disconnected acts.

 (Trial Tr., Jury Charge, at 159-60). While the jury was not charged that they
 must unanimously agree about which of at least three violations constituted the
 “series,” any error in this instruction was harmless under a Brecht analysis.
 See Ross, 289 F.3d at 682 (holding that the Brecht harmless error analysis is
 the proper analysis of a Richardson claim.) The jury in this case unanimously
 found three specific violations which made up the continuing series by
 convicting Andrews on three separate counts of possession with intent to
 distribute cocaine and aiding and abetting in violation of 21 U.S.C. § 841(a)(1)
 and 18 U.S.C. § 2. Because conviction on these counts was rendered by a
 unanimous verdict of the same jury which convicted the defendant on the CCE
 count, the court cannot find that the failure of the trial court to charge the jury
 in a manner consistent with Richardson had a substantial and injurious effect
 on the jury’s verdict in this case.

        The fact that the jury found [Andrews] guilty of these . . .
        substantive drug offenses “necessarily establishes that the jurors
        agreed unanimously that he was guilty of those offenses.” Murr
        v. United States, 200 F.3d 895, 906 (6th Cir. 2000). In
        conclusion, the jury’s unanimous finding of guilt on the . . .
        substantive drug offenses ensures that the core concern of the
        Richardson decision – that jurors might convict on the basis of
        violations for which there was non-unanimity – is not present in
        this case.

 Sawyer v. Holder, 326 F.3d 1363, 1366 (11th Cir. 2003). The court finds that
 any error was harmless and that Andrews was not prejudiced by his counsel’s
 actions.

        Second, counsel’s failure to predict in 1994 the Richardson decision in
 1999 did not amount to ineffective assistance of counsel. In United States v.
 Ardley, 273 F.3d 991, 993-994 (11th Cir. 2001) (concurrence in denial of
 application for rehearing en banc), cert. denied, 535 U.S. 979 (2002), four
 judges of this circuit point out that in the Eleventh Circuit there is a “wall of


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      binding precedent” which shuts out any contention that an attorney’s failure
      to anticipate a change in the law constitutes ineffective assistance of counsel.
      See, e.g., Spaziano v. Singletary, 36 F.3d 1028, 1039 (11th Cir. 1994) (“We
      have held many times that ‘[r]easonably effective representation cannot and
      does not include a requirement to make arguments based on predictions of how
      the law may develop.’”); Davis v. Singletary, 119 F.3d 1471, 1476 (11th Cir.
      1997) (“[i]t was not professionally deficient for [counsel] to fail to anticipate
      that the law in Florida would be changed in the future to bar the admission of
      hypnotically induced testimony.”); Thompson v. Wainwright, 787 F.2d 1447,
      1459 n.8 (11th Cir. 1986) (“defendants are not entitled to an attorney capable
      of foreseeing the future development of constitutional law”). The rule applies
      even if a claim based upon anticipated changes in the law was reasonably
      available at the time counsel failed to raise it. See, e.g., Pitts v. Cook, 923 F.2d
      1568, 1572-74 (11th Cir. 1991) (holding that even though a claim based upon
      Batson v. Kentucky, 476 U.S. 79 (1986), was “reasonably available to counsel
      at the time of the 1985 trial, failure to anticipate the Batson decision and raise
      that claim was not ineffective assistance of counsel”). “The rule that it is not
      ineffective assistance for an attorney to fail to foresee a change in the law
      applies even when the change is such that the forfeited issue was, in hindsight,
      a sure fire winner.” Ardley, 273 F.3d at 993 quoting Wright v. Hopper, 169
      F.3d 695, 707-08 (11th Cir. 1999) (Batson issue). Andrews is not entitled to
      any relief because his counsel failed to anticipate Richardson.

Recommendation of the Magistrate Judge, 2:94cr62 at 7-10 (M.D. Ala. June 12, 2003) (doc.
# 1627), adopted by the court July 9, 2003 (doc. # 1659)(footnote omitted).

      In his latest motion Andrews argues that he has been treated differently from a

codefendant, Jerry Lindsey Artis because Artis’ Richardson claim was resolved favorably

to Artis and his life sentence was reduced to 20 years imprisonment. This is Andrews’

argument:

      “[S]ince the treatment of Mr. Artis in the granting of his § 2255 motion and
      being re-sentenced to only 20 years in the same court with a different judge
      is highly disparate to Mr. Andrews's § 2255 motion being denied in all
      aspects, is plain error, a miscarriage of justice, all of which shocks the
      conscience, the ends of justice demand that this cause and prejudice be
      remedied in whatever way this Court deems just and proper.”

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(Doc. # 2013 at 3).

       Andrew’s disparate sentencing claim is patently erroneous. Unlike Andrews, Artis

was convicted only on the conspiracy (count 1) and CCE (count 2) counts in the indictment.

Thus, upon consideration of Artis’ Richardson claim, the court could not conclude that the

erroneous CCE jury instruction was harmless.

              To determine whether the court’s failure to a give a Richardson
       instruction constitutes harmless error, the court “must determine whether grave
       doubt exists as to whether the jury would have unanimously found that [Artis]
       committed [three] connected violation[s].” Ross, 289 F.3d at 683. After
       careful consideration of the issue, the court concludes that the error in the
       instruction was not harmless under a Brecht analysis. The jury convicted Artis
       only on counts one and two, conspiracy and continuing criminal enterprise.
       Artis was not named in any other count, nor was he named in any overt act in
       the indictment. While the court in Ross held that failure to give a Richardson
       instruction was harmless error, it did so because “at trial, more than fifteen
       witnesses for the Government testified about Ross’s participation in hundreds
       of controlled substance offenses.” 289 F.3d at 685. That is not the case here.
       Only one witness testified to Artis’ involvement in distributing illegal drugs.
       In addition, this witness testified that he had not made a “controlled buy” from
       the defendant. (Trial Tr, Vol. 5, Jan. 13, 1995, V-60.) Finally, the jury
       acquitted defendant Price. Thus, the court has “at least ‘grave doubt’ about
       whether the absence of a Richardson instruction in this case had “substantial
       and injurious effect or influence in determining the jury’s verdict.” Ross, 289
       F.3d at 683, quoting Smith v. Singletary, 61 F.3d 815, 819 (11th Cir. 1995).
       Accordingly, the court concludes that the defendant’s CCE conviction is due
       to be vacated.

Recommendation of the Magistrate Judge, 2:94cr62 at 7-10 (M.D. Ala. July 11, 2003) (doc.
# 1664), adopted by the court October 17, 2003 (doc. # 1725).

       Accordingly, the court vacated Artis’ CCE conviction, reinstated his conviction on the

conspiracy count and sentenced him to 20 years imprisonment on the reinstated count. The

difference between Andrews and Artis’ situation is obvious. The jury unanimously found

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Andrews guilty of participation in three counts of distribution of controlled substances. This

unanimous jury determination supported the court’s conclusion that any error in instructing

the jury was harmless in Andrew’s case.      Artis was not named in or found guilty of any

distribution count, and he was not named in any overt act specified in the indictment. Thus,

as to Artis, the court could not say the Richardson error was harmless. Andrews’ claims lack

merit, and his latest motion should be denied.

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that Andrew’s

motion be DENIED. It is further

       ORDERED that the parties are DIRECTED to file any objections to the said

Recommendation on or before March 5, 2010. Any objections filed must specifically

identify the findings in the Magistrate Judge's Recommendation objected to. Frivolous,

conclusive or general objections will not be considered by the District Court. The parties are

advised that this Recommendation is not a final order of the court and, therefore, it is not

appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge's report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5 th Cir. 1982). See Stein

v. Reynolds Securities, Inc., 667 F.2d 33 (11 th Cir. 1982). See also Bonner v. City of



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Prichard, 661 F.2d 1206 (11 th Cir. 1981, en banc), adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on

September 30, 1981.

       Done this 22 nd day of February, 2010.




                                        /s/Charles S. Coody
                                   CHARLES S. COODY
                                   UNITED STATES MAGISTRATE JUDGE




                                             8
